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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


SYBMOLOGY INNOVATIONS LLC,

               Plaintiff,                                       C.A. No. 1:19-cv-881-MN

       v.
                                                               JURY TRIAL DEMANDED
GLANBIA PERFORMANCE NUTRITION
(MANUFACTURING), INC. d/b/a OPTIMUM
NUTRITION, INC.,

               Defendant.


        GLANBIA PERFORMANCE NUTRITION (MANUFACTURING), INC.’S
           MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

       Defendant Glanbia Performance Nutrition (Manufacturing), Inc. d/b/a Optimum Nutrition,

Inc. (“Glanbia”) respectfully moves this Court to dismiss Plaintiff Symbology Innovations LLC’s

Complaint, pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, for failure to state a

claim upon which relief can be granted.

       The grounds for this motion are further set forth in Glanbia’s Opening Brief in Support of

its Motion to Dismiss for Failure to State a Claim, which is being filed contemporaneously

herewith.




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Dated: June 12, 2019                   Respectfully submitted,

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                                      (MANUFACTURING), INC. D/B/A
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